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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

IN ADMIRALTY

CASE NO.: 16-cv-62030-ALTONAGA/O’ SULLIVAN

DEAN MILTIADIS and JULIYA MICEVSKI,
Plaintiffs,
¥.

M/Y LUCKY STAR, Official Number 70346,

a Marshall Islands registered yacht, her engines,
tackle, apparel, furnishings and appurtenances,
in rem,

Defendants.
/

CONSENT AND INDEMNIFICATION AGREEMENT FOR THE

Plaintiffs, Dean Miltiadis and Juliya Micevski, and the proposed Substitute Custodian,
MMYC, LLC d/b/a Marina Mile Yachting Center at Marina Bay (“The Yachting Center”),
hereby expressly release the U.S. Marshal for this district, and the U.S. Marshal’s Service, from
any and all liability and responsibility for the care and custody of the M/Y Lucky Star, a 1990
model year, Burger Boat Company built, 25.60 meters in length, 145 gross tons, private
recreational motor yacht flagged in the Marshall Islands with Official Number 70346, while in
the care, custody and control of The Yachting Center.

Plaintiffs, Dean Miltiadis and Juliya Micevski, and the proposed Substitute Custodian,

The Yachting Center, also expressly agree to hold the U.S. Marshal for this district, and the U.S.
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Marshal’s Service, harmless from any and all claims whatsoever arising during the period of the

substitute custodianship.

SIGNED this D> day of August, 2016, at Fort Lauderdale, Florida,
PLAINTIFFS: SUBSTITUTE CUSTODIAN:
WRASSE MMYC, LLC d/b/a Marina Mile Yachting

DEAN MILTIADIS

c/o Stroup & Martin, P.A.

119 Southeast 12" Street

Fort Lauderdale, Florida 33316
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LIYA MICEVSKI
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119 Southeast 12" Street
Fort Lauderdale, Florida 33316

Center at Marina Bay
2200 Marina Bay Drive E.
Fort Lauderdale, Flopida

By: ¢
DAVID HOLE, General Manager

